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                     UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF OHIO


In re:


David Baucom                                             Case No. 19-11123
Regina Baucom                                            Chapter 7
                                                         Judge Buchanan
Debtors.
_________________________/


  CHAPTER 7 TRUSTEE’S APPLICATION TO RETAIN BK GLOBAL REAL ESTATE
         SERVICES AND AND COMEY & SHEPHERD REALTORS TO PROCURE
         CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C. §§327, 328 AND 330


        George Leicht, as Chapter 7 Trustee (the “Trustee”) for the estate of David Baucom
and Regina Baucom (the “Debtors”), by and through the undersigned counsel, files this
Application for entry of an order authorizing retention of BK Global Real Estate Services
(“BKRES”) and Comey & Shepherd Realtors (“Listing Agent”) under the terms set forth in
the agreement (the “BKRES Agreement”) attached to BKRES and Listing Agent Affidavits
of Disinterestedness filed herewith, and in support thereof, the Trustee respectfully states
as follows:
                                 PRELIMINARY STATEMENT

        Trustee requests approval to retain BKRES and local licensed Listing Agent
(individually and collectively referred to as “Broker or Brokers”), at no cost to the estate,
to negotiate with and persuade the first lienholder on certain real property in which the
estate has no equity to (1) allow Trustee to sell such property at the highest price that the
market will bear, (2) waive the resulting deficiency claim and (3) pay an 11 U.S.C. §506
surcharge to provide a carve out for the benefit of the estate and pay all other sale
expenses, including a 6% brokerage commission that will be shared equally by BKRES
and Listing Agent only upon the closing of a sale that is approved by this Court.
        BKRES and its affiliates have proprietary technology and a national team of
experienced loan servicing specialists, asset managers, negotiators, trustee relation
managers, real estate brokers and agents, closing specialists and attorneys with
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extensive experience in procuring the consent of mortgage lenders and servicers to sell
over-encumbered properties and provide significant cash recoveries to selling estates
with no equity, through the Consented Sale™ process described herein.
        The proposed agreements are attached and provide that BKRES and Listing Agent
will not be entitled to any compensation from the estate whatsoever under any
circumstances. They will only receive and share a customary brokerage commission that
is paid by secured creditor as an 11
U.S.C. § 506 surcharge approved by this Court.

       The Trustee (1) believes that hiring BKRES and Listing Agent to pursue a
Consented Sale™ will likely result in secured creditor paying a carve-out for the benefit
of the estate with proceeds from the public sale of an asset in which the estate has no
equity and (2) expects to obtain secured creditor’s agreement to a Consented Sale™, and
bring a separate motion seeking this Court’s approval of the procedures, terms and
conditions by which the over-encumbered property will be sold, within the coming months.
                                       JURISDICTION

      1.      This Court has jurisdiction to consider this Application pursuant to 28
              U.S.C. §§ 157 and 1334.        This matter is a core proceeding within the
              meaning of 28 U.S.C. § 157(b)(2)(A), (M), (N), and (O).

       2.     Venue is proper before this Court pursuant to 28 U.S.C. §§1408 and 1409.
                                     BACKGROUND

        3.      On 03/29/2019, the Debtors commenced this case by filing a voluntary
petition for relief under Chapter 7 of the United States Bankruptcy Code.
        4.      Thereafter, the Trustee was appointed as the Chapter 7 trustee in this case.

       5.     The section 341 meeting of creditors is scheduled to be held on 05/07/2019.

      6.  The Debtors are the sole owners of real property located at 6592 STATE
RT 48 GOSHEN, OH 45122 (the “Property”).

       7.     The Trustee is informed and believes that there is little or no equity in the
              Property.

      8.      The Trustee has determined it to be in the best interest of the Debtors’ estate
and all creditors to negotiate to obtain Secured Creditor’s agreement and consent
(“Consent”) to do the following, with the proviso that the hired professionals, BKRES and
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Local Agent, shall not participate in the sale and purchase of any estate property except
as hired Brokers:
             a. sell the Property to whichever third party Trustee determines to have
                 made the best qualified offer during a public sale approved by the Court;
             b. buy the Property from the Debtors’ estate if (and only if) no such offer is
                 made1 ;
             c. release the Senior Mortgage and otherwise waive all of its claims against
                 the estate with respect to the Property (including any deficiency claims
                 resulting from the proposed sale); and
               d. agree to a 11 U.S.C. § 506 surcharge to pay all of the customary
                   expenses associated with the proposed sale, including the payment of
                   a 6% real estate brokerage commission to BKRES and Listing Agent
                   and reimbursement of        their out-of-pocket expenses and provide a
                   meaningful carve out for the benefit of allowed unsecured creditors of the
                   Debtors’ estate.
        9.     The Trustee also has determined it to be in the best interest of the Debtors’
estate and all creditors to request authorization to engage Brokers BKRES and Listing
Agent to provide reasonable and necessary property preservation, maintenance, and
upkeep services to the subject estate Property and to reimburse the Brokers in a
maximum amount not to exceed $500.00 for any approved reasonable, necessary out-of-
pocket costs and expenses incurred by Brokers associated with property preservation,
maintenance, and upkeep of the subject Property in connection with a potential sale, upon
the availability of funds from the estate, without the need for further Order.
        10.    Trustee expects BKRES and Listing Agent to obtain Secured Creditor’s full,
final and unconditional Consent and bring a separate motion seeking an order approving
the sale of the Property (the “Motion to Approve Sale”) within several months of the entry
of the order sought by this Application.
       11.    By this Application, the Trustee requests authority pursuant to Sections 327,
328(a) and 330 of the Bankruptcy Code to (a) retain BKRES and Listing Agent to provide
the necessary professional assistance and representation required by the Trustee to fulfill
the Trustee’s duties pursuant to 11 U.S.C. § 704 in order to procure Secured Creditor’s
Consent, (b) engage Brokers BKRES and Listing Agent to provide reasonable and
necessary property preservation, maintenance, and upkeep services to the subject estate
Property to facilitate the sale of the Property for the benefit of the Secured Creditor’s and
bankruptcy estate, (c) reimburse Brokers in the maximum amount not to exceed $500.00

 11
   In the event that the Property is not sold to a third party, the Brokers will be paid in accordance with the
 non-third party sale terms of the BKRES Agreement and Listing Agreement.
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    for any approved, out-of-pocket costs incurred by Brokers associated with property
    preservation, maintenance, and upkeep of the subject Property in connection with a
    potential sale, upon the availability of funds from the estate, without the need for further
    Order, and (d) approve Secured Creditor’s payment of the fees described herein and
    below directly to BKRES and Listing Agent at closing of the sale of the Property, if and
    when the Consent and Motion to Approve Sale are granted.
                                             APPLICATION

           12.    Section 328(a) of the Bankruptcy Code provides, in relevant part, that a
    debtor “with the court’s approval, may employ or authorize the employment of a
    professional person under section 327...on any reasonable terms and conditions of
    employment, including on a retainer, on an hourly basis, on a fixed percentage or fee
    basis, or on a contingent fee basis.” 11 U.S.C. § 328(a). Section 330 of the Bankruptcy
    Code permits the Court to “award to a trustee… or a professional person employed under
    section 327…(A) reasonable compensation for actual, necessary services rendered [by
    such party]… and (B) reimbursement for actual, necessary expenses.” 11 U.S.C. §
    330(a)(1).
           13.    As further described in the materials attached to their affidavits, BKRES 2
    and Listing Agent have extensive experience obtaining the consent and agreement of
    mortgage lenders and servicers to the sale of their collateral and resolution of any resulting
    unsecured claims in order to produce a recovery for estates from over-encumbered assets
    in which the estate has no equity. An expedited sale of the estate Property securing an
    allowed secured claim in this case pursuant to Section 363 of the Bankruptcy Code will
    enhance the bankruptcy relief sought by the Debtors, provide a recovery of value for the
    bankruptcy estate that will result in a meaningful distribution to unsecured creditors, and
    provide direct equitable benefits to the Secured Creditor in the following ways:
                    a.     in exchange for an expedited free and clear sale and realization of
                    the current fair market value of the Property by the Secured Creditor, the
                    Debtors’ estate will be released from the Senior Mortgage and any
                    deficiency claims resulting from the sale;
                    b.     an expedited free and clear sale of the Property will provide a loss
                    mitigation option that enables the Secured Creditor and Debtors’ to avoid
                    the substantial expense of foreclosure proceedings and the damaging
                    impact of foreclosure on the financial recovery of the bankrupt Debtors’ and
                    their ability to obtain future credit;




2
    BKRES is the broker affiliate of BK Global (http://www.bkginc.com/).
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                    c.      an expedited free and clear sale of the Property will provide a
                    negotiated cash payment as a meaningful recovery of value for the
                    bankruptcy estate and the unsecured creditors;
                    d.      an expedited free and clear sale of the Property will eliminate the
                    need for a foreclosure sale and enable the Secured Creditor to limit its
                    expenses to legal costs, property preservation costs, insurance, and taxes;
                    and,
                    e.      the Debtors’ voluntary surrender of the Property to the administration
                    of the Trustee and the Secured Creditor’s consent to the sale of the Property
                    will enable the Trustee to use the forces of a free market to establish the
                    true fair market value of the Property for the benefit of all interested and
                    affected parties.
            14.    The Trustee believes that the highest and best value for the Property will be
    generated through a sale in which the Property is widely marketed to the public and
    offered at the highest price that the market will bear. The Trustee further believes that
    such a sale is in the best interest of the Debtors’ estate but can only be achieved if
    Secured Creditor’s Consent is first obtained. That is why the Trustee believes that
    retaining BKRES and Listing Agent to obtain Secured Creditor’s Consent is in the best
    interests of the Debtors’ estate.
            15.    In no event will the estate have any obligation to pay BKRES or Listing
    Agent for their services, or to pay for customary title and closing services. The terms of
    the BKRES Agreement and Listing Agreement and this Application provide that BKRES
    and Listing Agent are only entitled to payment if and when (a) Secured Creditor grants its
    Consent, (b) the Motion to Approve Sale is granted and (c) the Property is sold, in which
    event BKRES and Listing Agent will receive and share a 6% real estate brokerage
    commission and obtain reimbursement of any out-of-pocket expenses and payment for all
    other expenses associated with the sale of the Property from the sale proceeds at closing
    in accordance with the order approving the sale.3
            16.    BKRES and Listing Agent will not be entitled to any fees if Secured Creditor
    does not grant its Consent or the Court does not grant the Motion to Approve Sale.
            17.    The Trustee submits that the terms of employment and compensation as
    set out in the BKRES Agreement and Listing Agreement are reasonable in light of the
    extensive experience of BKRES and Listing Agent and the nature of the services they
    provide.



1   3
      In the event that the Property is not sold to a third party, the Brokers will be paid in accordance with the
    non-third party sale terms of the BKRES Agreement and Listing Agreement.
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         18.    BKRES attested that it is a disinterested person within the meaning of
 Section 101(14) of the Bankruptcy Code and Federal Rules of Bankruptcy Procedure
 2014 and 2016(a). Attached hereto is an Affidavit of Disinterestedness of BKRES. BKRES
 also attests, pursuant to Bankruptcy Rule 2016, that it shall not split or share its fee
 with any individual or entity other than Listing Agent, or a buyer’s Agent, if applicable.
         19.    Listing Agent attested that it is a disinterested person within the meaning of
 Section 101(14) of the Bankruptcy Code and Federal Rules of Bankruptcy Procedure
 2014 and 2016(a). Attached hereto is an Affidavit of Disinterestedness of Listing Agent.
 Listing Agent also attests, pursuant to Bankruptcy Rule 2016, that it shall not split or share
 its fee with any individual or entity other than BKRES, or a buyer’s Agent, if applicable.
                                          CONCLUSION
         For the foregoing and all other necessary and proper purposes, the Trustee seeks
 the Court’s authority to retain BKRES and Listing Agent in this case, and requests that
 the Court approve the compensation arrangements set forth in the BKRES Agreement
 and Listing Agreement and this Application pursuant to Sections 327, 328(a) and 330 of
 the Bankruptcy Code.
                                                                  Respectfully submitted,


Date: June 5, 2019
                                             /s/ George Leicht_______________
                                             George Leicht, Ohio Reg. 0019698
                                             Attorney for Trustee
                                             P.O. Box 602
                                             Batavia, OH 45103-0602
                                             (Tel.) 513.734.4848




                                           EXHIBIT A
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                            UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF OHIO

     In re:


     David Baucom
     Regina Baucom                                            Case No. 19-11123
                                                              Chapter 7
     Debtors.
      ___________________________/


 ORDER AUTHORIZING THE CHAPTER 7 TRUSTEE TO RETAIN BK GLOBAL REAL
     ESTATE SERVICES AND COMEY & SHEPHERD REALTORS TO PROCURE
     CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C. §§327, 328 AND 330


              Upon the Application of George Leicht, the trustee in the above-captioned
     case (“Trustee”), to Retain BK Global Real Estate Services and Comey &
     Shepherd Realtors to Procure Consented Public Sale pursuant to 11 U.S.C.
     §§327, 328 and 330 (the “Application”), and the Court having reviewed and
     considered the Application and the Affidavit of Disinterestedness and found the
     same to be in the best interest of the Debtors’ and creditors of the estate, and
     having found good and sufficient cause to grant the requested relief, the United
     States Bankruptcy Court for the District of Maryland the Court hereby FINDS as
     follows:
              A.     The Court has jurisdiction over this matter pursuant to 28 U.S.C. §
                     157(b)(2).
              B.     Venue of this Chapter 7 case and the Application is proper pursuant
                     to 28 U.S.C. §§ 1408 and 1409.
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               C.    Notice of the Application was adequate and proper under the
                     circumstances.
               D.    BKRES1 and Listing Agent are disinterested persons within the
     meaning of Bankruptcy Code Section 101(14).
                     ACCORDINGLY, based upon the foregoing findings of fact, it is
     by the United States Bankruptcy Court for the District of Maryland
               ORDERED, that the Application be and is hereby GRANTED, and it is
               further ORDERED, that the Trustee is authorized to retain and
               compensate BKRES and local
     licensed Listing Agent to provide the necessary professional assistance and
     representation required by the Trustee to fulfill the Trustee’s duties pursuant to
     11 U.S.C. §704 in order to procure Secured Creditor’s Consent, and otherwise
     market and sell the Property, in Debtor’s Chapter 7 case pursuant to Sections
     327, 328(a) and 330 of the Bankruptcy Code, and Bankruptcy Rules 2014 and
     2016, in accordance with the terms and conditions set forth in the BKRES
     Agreement, the Listing Agreement and this Order. BKRES and Listing Agent
     shall not split or otherwise share their fees with any other person or entity, and
     it is further
               ORDERED, that BKRES and Listing Agent shall be compensated in
     accordance with the BKRES Agreement and Listing Agreement, respectively,
     and such compensation shall not hereafter be subject to challenge except under
     the standard of review set forth in Section 330 of the Bankruptcy Code, and it is
     further
               ORDERED, that BKRES and Listing Agent shall be authorized to receive
     and retain their fees from Secured Creditor at the successful closing of the sale
     of the Property without necessity of further order of the Court. The estate shall,
     in no circumstance, be obligated to compensate BKRES or Listing Agent in such
     event and BKRES and Listing Agent shall not have a claim
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     against the estate for any unpaid amounts. BKRES and Listing Agent, and

     anyone claiming by, through or under either of them, shall only have recourse

     for recovering its fee to Secured Creditor. The estate shall have no liability for

     any such claim, and it is further

            ORDERED, that the Trustee is hereby authorized to engage Brokers

     BKRES and Listing Agent to provide reasonable and necessary property

     preservation, maintenance, and upkeep services to the subject estate Property

     to facilitate the sale of the Property for the benefit of the Secured Creditor and

     bankruptcy estate, and to reimburse the Brokers in a maximum amount not to

     exceed $500.00 for the approved reasonable, necessary costs and expenses

     of preserving, or disposing of, the subject Property, without the need for further

     Order, and it is further

            ORDERED, that the Court shall retain jurisdiction to hear and determine

     all matters arising from or related to the implementation of this Order.

            Distribution list

            Default List

                                         ###
